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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

BRENDA FARNSWORTH,

           Plaintiff,

v.                                      Case No.: 8:15-cv-00065-SCB-MAP


HCA INC., et al.

           Defendants.
                               /


                             MEDIATION REPORT

      In accordance with the Court’s mediation order, a mediation
conference was held on November 4, 2015.    Plaintiff and her trial
counsel, and the Defendants’ corporate representative and trial
counsel attended and participated.
      The case has been completely settled.
      Done November 4, 2015 in Tampa, Florida.
                                   Respectfully submitted,


                                   /s/ Peter J. Grilli
                                   Peter J. Grilli, Esq.
                                   Florida Bar No. 237851
                                   Mediator
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     I HEREBY CERTIFY that November 4, 2015 I electronically filed the
foregoing document with the United States District Court Electronic
Case Filing system, which will electronically send copies to counsel of
record.


                                        /s/ Peter J. Grilli
                                        Peter J. Grilli, Esq.
